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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 KALOMA CARDWELL,

                                Plaintiff,

 v.

 DAVIS POLK & WARDWELL LLP, Thomas Reid,               1:19-cv-10256-GHW
 John Bick, William Chudd, Sophia Hudson, Harold
 Birnbaum, Daniel Brass, Brian Wolfe, and John
 Butler,
                                 Defendants.




      REPLY MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION TO
                MODIFY THE COURT’S SCHEDULING ORDER




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        Plaintiff Kaloma Cardwell (“Cardwell”) respectfully submits this memorandum of law and

accompanying declaration in support of his motion, pursuant to Fed. R. Civ. P. 16(b)(4), to modify

the Court’s Scheduling Order (the “Order”) to propound document requests and interrogatories on

Davis Polk & Wardwell LLP (“Davis Polk” or the “Firm”) and named defendants Thomas Reid,

John Bick, William Chudd, Sophia Hudson, Harold Birnbaum, Daniel Brass, Brian Wolfe, and

John Butler (the “Named Defendants,” and, together with Davis Polk, “Defendants”).

                                     PRELIMINARY STATEMENT

        In a case about racial discrimination, where a core allegation is that Davis Polk and its

partners actively concealed individual and institutional racism that harmed Plaintiff and others,1

Davis Polk and its partners are arguing that Plaintiff should not be allowed by way of a procedural

default to conduct discovery into their conduct. Davis Polk and the Named Defendants—with

assistance from the largest law firm in New York 2—are pushing for an outcome that is not required

by law, does not serve the interests of justice, 3 and punishes a financially-disadvantaged plaintiff

for a single, unintentional mistake (i.e., failing to track and comply with what is undoubtedly an

important discovery deadline). This case—and all racial discrimination cases, quite frankly—

deserves a better outcome than that.

        The elephant in the room is that this case involves a significant power and resource

imbalance between Plaintiff and Defendants. And yet, despite that imbalance, Davis Polk and its

counsel, Paul Weiss, are pushing to win a racial discrimination case based on a non-merit based

technicality, while simultaneously asserting to the press that “all of the claims in this lawsuit are



1
         See Amended Complaint (ECF No. 37).
2
         Davis Polk is reportedly the second largest law firm in New York. https://abovethelaw.com/2020/07/the-
100-largest-law-firms-in-new-york-2020/
3
         Notably, Defendants’ memorandum of law ignores Plaintiff’s entire argument (and supporting caselaw) put
before this Court, namely that granting the relief they request would undermine the interests of justice, given the
severity of the claims and allegations at issue in this action.

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meritless,” the “claims . . . are flatly contradicted by the facts” and “[t]he contemporaneous

documentary evidence . . . will show uniformly that plaintiff’s deficient performance was the

only reason he was asked to seek other employment.” 4 Now, on account of a discovery failing,

Defendants seek to have it both ways—asserting waiver and default, in an attempt to keep Plaintiff

and the public from the very “facts” and “contemporaneous documentary evidence” that they

publicly invoke to undermine the factual and legal sufficiency of this case. 5

         As explained in Plaintiff’s memoranda of law and accompanying affidavits, an unintended

mistake and a simultaneous March 2 deadline undoubtedly contributed to Plaintiff’s request for

Court assistance. No one wishes that this deadline was met more than Plaintiff, who has pursued

a ruling on the merits for over four years, as well as Plaintiff’s counsel, a solo practitioner with no

paid staff and who has agreed to litigate this case since 2018 entirely for free—and regardless of

the outcome. Surely, Plaintiff and his current counsel are litigating this action with ample skin in

the game.

         Accordingly, for the reasons stated in Plaintiff’s memoranda of law and in light of the fact

that Your Honor has the ability to move the parties closer to an outcome that is fair and just,

Plaintiff respectfully asks the Court (i) to find that good cause exists; and/or (ii) to modify the

Scheduling Order to allow Plaintiff to serve document requests and interrogatories on Defendants.

                                                  ARGUMENT

A. PLAINTIFF HAS DEMONSTRATED GOOD CAUSE SUFFICIENT TO JUSTIFY
   MODIFYING THE SCHEDULING ORDER



4
         https://www.law.com/newyorklawjournal/2020/05/01/davis-polk-doubles-down-against-ex-associate-in-
race-bias-suit-citing-deficient-performance/
5
         For his part, on July 18, 2020, pursuant to your Honor’s Order, Plaintiff served (i) responses and objections
to Defendants’ First Set of Interrogatories, (ii) responses and objections to Defendants’ First Set of Document
Requests, (iii) a categorical privilege log, and (iv) a document production consisting of roughly 477 files spanning
2,088 pages of discovery materials. Plaintiff respectfully requests that he be given an opportunity to receive
reciprocal discovery from Defendants to ensure that the at-issue claims are fully and fairly resolved on the merits.

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        1. It Was Reasonably Unforeseeable in December 2019 That Plaintiff Would Be
           Unable to Comply with the Expedited Schedule That Was Sought
        Defendants do not dispute that “[g]ood cause may be established if the moving party can

demonstrate that . . . reasonably unforeseeable events occurring after the entry of the scheduling

order precluded compliance with the deadlines in the [scheduling order].” LaFlamme, 220 F.R.D.

at 186. As the Motion demonstrates, and as discussed with the Court during the July 7, 2020

hearing, a constellation of factors—none “reasonably []foreseeable” in December 2019—

prevented compliance with the March 2 deadline. Rather than attempt to apportion blame between

the filing of the Amended Complaint and bracing for a looming public health crisis, Plaintiff has

demonstrated that both events occupied tremendous time and resources for Plaintiff and Plaintiff’s

counsel. Despite their diligence and tireless work on the Amended Complaint, compliance with

the deadline simply was not feasible for two attorneys alone to meet—one a former transactional

associate at Davis Polk with less than four years of practicing experience, and the other a solo

practitioner. Cardwell Decl. at 6.

        2. Plaintiff Was Reasonably Diligent and Acted in Good Faith to Seek a
           Modification of the Order
        In May 2020—upon realizing that the discovery deadline was missed—Plaintiff’s counsel

attempted to cure the deficiency and made a proposal to Defendants on May 18, 2020 that would

do so. Mot. at 6. As their papers are conspicuously silent on this point, Defendants do not deny

that, after explicitly stating that they would provide Plaintiff with a response “likely end of the

week/next week,” they failed to respond to the proposal or engage with Plaintiff at all until June

5, 2020 (nearly three weeks later). 6


6
          Defendants’ repeated assertion of a “four-and-a-half-month delay attributable to plaintiff’s discovery
failings” (Opp. at 7) is disingenuous, as it includes time attributable to Defendants’ own delays in responding to
Plaintiff’s May 18proposal. Noticeably, neither the May 18 proposal, nor Defendants’ weeks-long delay are
mentioned in Defendants’ memorandum of law or their supporting affidavit. See, e.g., Buergel Decl. at ¶¶ 4-5 (ECF


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         Insofar as the Court is inclined to deny Plaintiff’s request to modify the Scheduling Order,

Plaintiff respectfully asks that the Court’s approach be commensurate with the two-month delay

between the discovery deadline and when Plaintiff alerted Defendants to its lapse (and attempted

in good faith to address it by requesting an extension that would forego a need for Court

intervention or any disruption to the agreed-upon schedule).

         Further, the assertions that Plaintiff had “two separate lawyers in this case” ignores the

fundamental reality that Plaintiff provided a sworn affidavit to this Court explaining that—without

any prior notice, consent, or approval—one of his attorneys effectively withdrew from the case

months before he formally petitioned this Court to withdraw as counsel. 7,8

         3. Defendants’ Rely on Cases That Support Plaintiff’s Request to Modify the
            Scheduling Order
         None of the cases that Defendants cite involve a request for scheduling order modification

at the early stages of discovery, where Plaintiff or Plaintiff’s counsel have complied with all other

relevant case deadlines in furtherance of the litigation. 9 Instead, Defendants rely on inapposite

cases detailing egregious discovery-related misconduct—where, even on such indefensible




No. 63) (omitting any reference to the parties’ April or May interactions or Defendants’ belated June 5 response to
the May 18 proposal).
7
          In a display of backwards logic, Defendants’ arguments ignore Plaintiff’s May 18 proposal, which were
based on communications with Plaintiff, to elevate an out-of-context, June 10 two word quotation attributed to Mr.
Restituyo—someone who had no communications with Plaintiff about discovery or Plaintiff’s sheltering-in-place
(and who had attempted to take himself off the case earlier that morning). Mot. 2.
8
          See Cardwell Decl. at ¶¶ 24-27 (affirming that Plaintiff was billed for approximately 10 hours of work
between December 2019, the time of the case management conference, and June 2020, when his motion to withdraw
was granted, despite time-intensive workflows including the discovery deadlines in the Scheduling Order, the filing
of the Amended Complaint on March 2, and Plaintiff’s opposition to Defendants’ partial motion to dismiss on June
4.
          Moreover, for the avoidance of doubt, Plaintiff provides this Court with an invoice with former counsel
demonstrating (contrary to statements made at the June 23 hearing) Plaintiff paid 100% of his outstanding legal fees
for work billed between November 2018 (i.e., the signing of the retainer agreement) and December 23, 2020 (the
first invoice that Plaintiff received from former counsel after signing the agreement). See Jeffries Decl. Ex. A.
9
          Plaintiff wishes to apprise the Court that its Rule 26 initial and amended disclosures were timely served on
January 20 and January 21, 2020, consistent with the Scheduling Order. That is the only other discovery deadline in
the Scheduling Order besides the March 2 deadlines that have not passed, and that deadline was met.

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records, courts in this District were still willing to grant the requested extensions. Plaintiff’s

request arrives to the Court against a dramatically different (and far less culpable) backdrop.

       In Carr, cited by Defendants in the context of analyzing good cause, the Court noted that

not only did plaintiff fail to fully respond to document requests for approximately sixteen months,

plaintiff met “none of the deadlines set” in a subsequent court order following counsel’s

representations that it would meet certain deadlines that were also missed. Carr v. Queens-Long

Island Med. Grp., P.C., 2003 WL 169793, *5 (S.D.N.Y. Jan. 24, 2003) (emphasis added). The

Court also noted that plaintiff failed to provide responses to interrogatories—all of which

evidenced a “pattern of disregard for discovery obligations” and “bad faith in delaying discovery

and multiplying the costs of the litigation.” Id. Notably, despite these facts, the court still granted

a modification to the schedule, permitting plaintiff to complete fact discovery. Given the far less

egregious conduct that brings the instant motion before this Court, Plaintiff respectfully submits

that a modification of the Scheduling Order allowing Plaintiff to serve document requests and

interrogatories is appropriate.

       Next, Defendants invoke Rosario-Diaz v. Gonzalez, 140 F.3d 312, 315 (1st Cir. 1998), a

case from outside of this District, to assert that Plaintiff’s counsel “failed to comply with [their]

duty, [and thus] he and his client must now live with the consequences.” Opp. at 5. Not quite.

There, the First Circuit affirmed a district court denial of the request to consider an untimely-filed

motion for summary judgment on the basis that the untimely motions (i) were filed “after the

(twice-extended) deadline for filing dispositive motions had expired,” (ii) “proffered no

compelling explanation for their delinquency,” and (iii) were filed “without first seeking leave of

court.” Rosario-Diaz, 140 F.3d at 315. Ultimately, the court affirmed the district court’s refusal

to “consider whether good cause existed to modify its scheduling order” because the moving



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party’s “show of indifference sealed off this avenue of relief.” Id. No such “indifference” exists

anywhere in the record before this Court.

        Link v. Wabash R. Co., 370 U.S. 626, 634 (1962) also misses the mark. There, the Supreme

Court dismissed a case with prejudice based on findings at the district court level that (i) plaintiff’s

counsel had “an unexplained absence from a pretrial conference,” which the court considered “in

light of ‘the history of this litigation’ and ‘of all the circumstances surrounding counsel’s action[s]

in the case.’” Id. This dispute is not about an unexplained absence from a pretrial conference.

Unlike in Link, there is no such a pattern or evidence of delays throughout the course of this

action—and thus does not compel such outcome based on materially dissimilar facts.

        Next, Defendants rely on Chira v. Lockheed Aircraft Corp., 634 F.2d 664, 667 (2d Cir.

1980), in support of their contention that Mr. Cardwell ought to be held accountable as a lawyer.

There, however, the moving party-attorney was chargeable “with his lawyers’ neglect” in part

because he “had earlier litigation experience” and was “listed as ‘on [a] brief’” (i.e., as counsel) in

another action. Id. (emphasis added). Here, no such thing can be said about Mr. Cardwell. As

Defendants well know, he was a junior transactional associate before Davis Polk terminated him.

He does not have any litigation experience as a practicing attorney, has never been listed as an

attorney for another’s litigation, and had never heard of or seen a case management plan prior to

this case. In Chira, the Second Circuit went on to emphasize that (i) “[plaintiff and his counsel]

did absolutely nothing at all to move their case to trial” and such “indolence . . . runs deeper, for

beyond [the moving party’s] failure to comply with the district court’s specific directions for the

prosecution of his suit, [he] failed to take any other action to move his case to trial.” Id. Unlike

in Chira, Mr. Cardwell and counsel have litigated this case and moved it to trial in all respects

outside of the inadvertently missed March 2 deadline.



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       Lastly, Defendants cite Jackson v. Federal Exp., 766 F.3d 189, 198 (2d Cir. 2014) for the

proposition that “plaintiff in [a] discrimination suit [was] bound by discovery failures of counsel.”

Notably, however, the Second Circuit noted that the requested relief (i.e., to reopen discovery) was

“filed nine months after the close of discovery and well past the scheduling order’s deadlines,”

“the motion was futile,” “a fully briefed motion for summary judgment was pending,” and “[a]

reopening under those circumstances would seriously undermine [those] motions.” Id. (emphases

added). The only similarity Plaintiff shares with the moving party in Jackson are the broad claims

at issue; it cannot be disputed that fact discovery is ongoing, summary judgment is months away,

and the only dispositive motion before this court does not hinge on the requested discovery.

Jackson could not be more disanalogous from this case.

B. EVEN IF GOOD CAUSE IS NOT FOUND, THE COURT SHOULD EXERCISE ITS
   DISCRETION TO GRANT THE REQUESTED SCHEDULE MODIFICATION

       Tellingly, Defendants give no consideration to and fail to distinguish any of the arguments

or cases cited in Plaintiff’s moving papers that support the exercise of this Court’s discretion to

permit the requested discovery. See generally ECF No. 62. Where certain discovery is essential

to a moving party’s claims and ability to rebut the objecting party’s defenses, fact discovery is

ongoing, and certain other pre-trial deadlines have not yet been set, there is ample precedent in

this jurisdiction to justify amending the Scheduling Order, particularly where doing so serves the

interests of justice and prevents a “resolution by procedural default.” Lopez v. Burris Logistics

Co., No. 3:12-CV-1039 CSH, 2013 WL 5962100, at *3 (D. Conn. Nov. 6, 2013).

       1. The Objected-to Discovery Is Essential to Cardwell’s Ability to Prove His
          Claims and Rebut Defendants’ Defenses

       Importantly, even where a moving party fails to show good cause, courts still make

deadline adjustments where “precluding [the moving party from obtaining the requested



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discovery] would significantly impair his ability to prove his case.” Lory v. Gen. Elec. Co., 179

F.R.D. 86, 89 (N.D.N.Y. 1998). Defendants unwillingness to engage with this possibility does not

make that reality any less apparent or the requested remedy any less appropriate or available to

Plaintiff. 10

         Worse yet, that Defendants objected to Plaintiff’s May 18 corrective proposal—after

evaluating it for several weeks—appears designed to capitalize on an honest mistake, and

strategically use that mistake as a mechanism to preclude “the [very] discovery . . . needed to fairly

resolve [plaintiff’s] claims . . . on their merits.” City of Almaty, Kazahkstan v. Ablyazov, No.

15CV05345AJNKHP, 2018 WL 2148430, at *3 (S.D.N.Y. May 10, 2018). 11

         Far from rewarding a purported “failure to prosecute this case”—a position that Defendants

assert, devoid of any supporting facts or proofs as a matter of law—granting Plaintiff’s request

(and denying the calculated relief that Defendants seek) will ensure that this Court does not work

an injustice upon Plaintiff that undermines his ability to finally have his day in court.

         2. Even If This Court Finds the Missed Deadline Unjustifiable, Neither a
            Procedural Default Nor Sanctions of Fees and Costs, Is Warranted
         The parties agree that this Court may “make such orders with regard [to the failure to obey

a scheduling order] as are just[.].” Fed. R. Civ. P. 16(f). However, achieving a “just” outcome in

light of the current circumstances seems to lend itself to two differing interpretations.

         Remarkably, and for its part, Defendants urge this Court to impose the discretionary

sanction of attorneys’ fees on one of its former employees as a penalty for a discovery


10
          Defendants likewise do not wrestle with the fundamental reality that Defendants are the only available
source for the requested discovery; the documents and information to be provided during discovery in this action
rests solely with Defendants and cannot be obtained elsewhere or through other sources. Mot. at 15.
11
          Plaintiff need look no further than Defendants’ opposition brief to demonstrate the strategic advantages
they seek to gain through the instant dispute—including, inter alia, Defendants’ attempt to foist onto the discovery
process so-called “appropriate limitations on the scope of written discovery in light of plaintiff’s default.” Opp. at 7.
As Defendants have not offered a single case to support such an extraordinary sanction, Plaintiff respectfully
requests that such unilaterally imposed restrictions on discovery be denied.

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deficiency—in a lawsuit alleging that Defendants engaged in unlawful acts of racial

discrimination, retaliation, and harassment—acts that have no doubt marred Plaintiff’s legal

career, eviscerated his financial stability, and, if Defendants have their way, threaten to

permanently handicap his future for the so-called “discovery failures of counsel.” Opp. at 6.

         Importantly, courts recognize and have held that “the protections and sanctions found in

the discovery rules are not absolute and contemplate the use of judicial discretion.” Davis v. City

of New York, No. 86 Civ. 6345(SWK), 1988 WL 42189, at *2 (S.D.N.Y. Apr. 28, 1988). To avoid

the many manifest injustices that Defendants’ requests and one-sided proposals would surely

create, Plaintiff asks this Court to exercise its discretion in a way that is just, equitable, and fair on

account of the full set of facts and circumstances presented. 12

                                                 CONCLUSION

         For the foregoing reasons, Plaintiff respectfully requests that the Court grant his motion,

modify the Case Management Plan and Scheduling Order to allow Plaintiff to serve document

requests and interrogatories, and grant such other and further relief as may be just and proper.




12
         If permitted, Plaintiff requests a period of two-weeks following the Court’s ruling on the Motion, as such
period would be sufficient for Plaintiff to serve its written discovery requests. Plaintiff rejects Defendants’ notion
that a meet and confer is necessary to address so-called “appropriate limitations on the scope of written discovery,” a
position that was not contemplated by the parties or the Court during the July 7 hearing where these very issues were
discussed. In fact, Your Honor expressed that a ruling would issue “very promptly after [the Motion is] fully
briefed.” July 7, 2020 Hrg. Tr. at 33:12.

                                                          9
